Case 2:10-cv-12094-LPZ-MKM ECF No. 21-7, PagelD.199 Filed 03/02/11 Page 1 of 2

EXHIBIT 6
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Here's what ¥ we know about cheezy.com:

*UltrePresence net" owne about 4 other domains View these domaing>
suppon@ultapresence. nat isa contact on the whois record of 16 domaine
: 2 registrars have maintained records for this domain since 1980-12-24
This domain has changed name servers 7 timos over § yours,
Hoaled.on 12P addresses over § years:
‘Yioe 28 ownership records archived since 2004-07-13 .
Zother web sites are hosted on thie server.
DomainTools for Windows®

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your own desktopt Downloed Now>

Registrant:
UltraPcesence net
93 3 Jackson Street #31915
Seattle, Washington 90104
United States

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Created on; 24-Dec-99°
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Add nietrative Contact :
‘Dupres, Michael supponiGutrepresence nat
UltraPresence.net
93 4 Jackson Street #31915
Seattle, Washington $8104
Wiited States

#1.2409354267 Fax --
Technical Contact:
Dupree, Michael  supportgouaraplosence.qat

UltraPresence . net
93 5 Jackson Strwet #31915
Seattle,::‘Washington $8104

United States
+1. 2489354107

fax ~

Domain servers in listed order:
NS2 . XNAME .ONG
NS1. XNAME ORG
NSO. XNAME . ORG

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